Case 2:15-cv-05346-CJC-E Document 438-22 Filed 10/09/20 Page 1 of 19 Page ID
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                                 #:28675




                    Exhibit 18
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment



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                                                                   Evidence Packet P.0399
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                                                       Evidence Packet P.0400
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                                                       Evidence Packet P.0401
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                                                       Evidence Packet P.0402
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                                                       Evidence Packet P.0403
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
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                                                       Evidence Packet P.0404
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
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                                                       Evidence Packet P.0405
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28682




                                                       Evidence Packet P.0406
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
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                                                       Evidence Packet P.0407
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
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                                                        Evidence Packet P.0408
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                                                        Evidence Packet P.0409
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28686




                                                        Evidence Packet P.0410
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28687




                                                        Evidence Packet P.0411
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28688




                                                        Evidence Packet P.0412
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28689




                                                        Evidence Packet P.0413
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28690




                                                        Evidence Packet P.0414
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28691




                                                        Evidence Packet P.0415
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28692




                                                        Evidence Packet P.0416
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                                                        Evidence Packet P.0417
